Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 1 of 25. PageID #: 165322




                               EXHIBIT 249
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 2 of 25. PageID #: 165323
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 3 of 25. PageID #: 165324
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 4 of 25. PageID #: 165325
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 5 of 25. PageID #: 165326
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 6 of 25. PageID #: 165327
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 7 of 25. PageID #: 165328
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 8 of 25. PageID #: 165329
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 9 of 25. PageID #: 165330
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 10 of 25. PageID #: 165331
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 11 of 25. PageID #: 165332
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 12 of 25. PageID #: 165333
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 13 of 25. PageID #: 165334
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 14 of 25. PageID #: 165335
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 15 of 25. PageID #: 165336
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 16 of 25. PageID #: 165337
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 17 of 25. PageID #: 165338
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 18 of 25. PageID #: 165339
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 19 of 25. PageID #: 165340
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 20 of 25. PageID #: 165341
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 21 of 25. PageID #: 165342
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 22 of 25. PageID #: 165343
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 23 of 25. PageID #: 165344
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 24 of 25. PageID #: 165345
Case: 1:17-md-02804-DAP Doc #: 1964-36 Filed: 07/23/19 25 of 25. PageID #: 165346
